 Case
  Case2:11-cr-00388-APG-CWH
       2:11-cr-00388-KJD -CWH Document
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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     411 E. Bonneville Avenue, Suite 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577
 5   (Fax) 388-6261
 6   Attorneys for Aquino
 7                               UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,                       2:11-cr-388-KJD-CWH
10
                            Plaintiff,
11                                                    ORDER
      vs.
12
      KEITH HARE,
13
                            Defendant.
14
15
                   IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-Plea
16
     Pre-Sentence Investigation Report on Defendant Keith Hare.
17
                                    16 day of February, 2012.
                   DATED this the ____
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19
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                                                       __________________________
21
                                                       DISTRICT COURT JUDGE
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